       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                              ATTORNEY APPEARANCE FORM


NOTE: In order to appear before this Court an attorney must either be a member in good
standing ofthis Court's general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                         Case Number: l:16-cv-10904
Nancy Wheeler Brewster, David Lee, Larry Geanes, Eric M.
Harlston, Reginald E. Harris, Mervin Howard, Gwendolyn
Jackson, Andrea Logan, Charles Longstreet, Lyndell Luster,
David Robertson, Kimberly K. Smith,

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
The Northeast Illinois Regional Commuter Railroad Corporation d/b/a METRA,Joseph M.
Perez, Harold Fuller, Bryan Mack,Paul Riggio, Steve Alvardo, Brian Peters, Glenn M.
Treckler, Carl Anderson, Art Olsen




NAME(Type or print)
April R. Walkup
SIGNATURE(Use electronic signature ifthe appearance form is filed electronically)
           s/ April R. Walkup
FIRM

HALL PRANGLE & SCHOONVELD,LLC
STREET ADDRESS
200 South Wacker Drive, Suite 3300
CITY/STATE/ZIP
Chicago, Illinois 60606
ID NUMBER(SEE ITEM 3 IN INSTRUCTIONS)                 TELEPHONE NUMBER

6238306                                                312-345-9600


ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                       YEs[2|           No||
ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                      YESQ             No[/]
ARE YOU A MEMBER OF THIS COURT'S TRIAL BAR?                        YES              No| |

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? YEs[/] No||

IF THIS IS A CRIMINAL CASE,CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL □               APPOINTED COUNSEL □
